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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   --------------------------------------------------------------- x
                                                                   :
   NIKE, INC.,                                                     :     No. 22-CV-983-VEC
                                                                   :
                                       Plaintiff,                  :
                                                                   :
                     v.                                            :
                                                                   :
   STOCKX LLC,                                                     :
                                                                   :
                                       Defendant.                  :
                                                                   :
   --------------------------------------------------------------- x

  DEFENDANT’S NOTICE OF NON-OPPOSITION TO PLAINTIFF’S MOTION FOR
            LEAVE TO FILE A FIRST AMENDED COMPLAINT

       Defendant StockX LLC (“StockX”), by and through its undersigned counsel, hereby

submits this notice to inform the Court and the parties that Defendant does not oppose Plaintiff

Nike, Inc.’s (“Nike”) Motion for Leave to File a First Amended Complaint in the above-

captioned action (ECF 31). Defendant recognizes that leave to amend a complaint is freely

granted – particularly early in a litigation – and that Nike’s Motion was timely filed in

accordance with the Court’s Scheduling Order governing this dispute. Thus, although Defendant
                                                        1
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disputes Nike’s allegations, Defendant enters no opposition to Nike’s Motion for Leave to

Amend its Complaint.



Dated:       May 24, 2022
             New York, New York


                                     DEBEVOISE & PLIMPTON LLP


                                    By: /s/ Megan K. Bannigan
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